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          United States Court of Appeals
                                 For the Seventh Circuit
                                 Chicago, Illinois 60604

                                     April 21, 2014




By the Court:

KEVIN BIRDO,                                     ]    Appeal from the United
        Plaintiff-Appellant,                     ]    States District Court for
                                                 ]    the Northern District of
No. 14-1157                          v.          ]    Illinois, Eastern Division.
                                                 ]
DR. LEAH URBANOSKY, et al.,                      ]    No. 1:12-cv-09219
        Defendants-Appellees.                    ]
                                                 ]    Ronald A. Guzman,
                                                 ]         Judge.


       The following is before the court: MOTION TO RECALL THE MANDATE,
filed on April 21, 2014, by the pro se appellant.

      A review of the district court’s docket indicates that on March 19, 2014, the
appellant filed a motion for leave to proceed on appeal in forma pauperis, and on
March 25, 2014, the district court denied the appellant’s motion. Accordingly,

      IT IS ORDERED that the motion is GRANTED. This court’s final order dated
March 21, 2014, is VACATED, the mandate is RECALLED and this appeal is
REINSTATED.

       In the present motion, the appellant explains why he contends that the district
court’s denial of leave to proceed on appeal in forma pauperis was erroneous.
Accordingly, the court will treat the motion as the appellant’s PLRA memorandum and
modify the docket accordingly.

        IT IS FURTHER ORDERED that the appellant file a motion for leave to proceed
on appeal in forma pauperis with this court by no later than May 21, 2014. The clerk
shall send the appellant an asset affidavit form.
